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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA Criminal No.: 19-cr-00065
v. Violation: 15 U.S.C. § 1
NETBRANDS MEDIA CORP.,
Defendant.

PLEA AGREEMENT

The United States of America and Netbrands Media Corporation, d/b/a
24hourwristbands.com and imprint.com (“Defendant”), a corporation organized and existing
under the laws of Texas, hereby enter into the following Plea Agreement pursuant to Rule
11(c)(1)(C) of the Federal Rules of Criminal Procedure (“Fed. R. Crim. P.”):

RIGHTS OF DEFENDANT
1, The Defendant understands its rights:
(a) to be represented by an attorney;
(b) to be charged by Indictment;
(c) to plead not guilty to any criminal charge brought against it;
(d) to have a trial by jury, at which it would be presumed not guilty of the
charge and the United States would have to prove every essential element of the
charged offense beyond a reasonable doubt for it to be found guilty;
(e) to confront and cross-examine witnesses against it and to subpoena
witnesses in its defense at trial;

(f) to appeal its conviction if it is found guilty; and

 
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(g) to appeal the imposition of sentence against it.
THE DEFENDANT’S AGREEMENT
2. Pursuant to Fed. R. Crim. P. 7(b), the Defendant will waive indictment and plead
guilty to a one-count Information to be filed in the United States District Court for the Southern
District of Texas. The Information will charge the Defendant with participating in a conspiracy,
the primary purpose of which was to suppress and eliminate competition by fixing and
maintaining prices of customized promotional products, including wristbands, lanyards,
temporary tattoos, and buttons, sold online, via telephone, or by other means (hereinafter “the
online sale of customized promotional products”), in the United States and elsewhere from at
least as early as May 2014 and continuing until at least June 2016 in violation of the Sherman
Antitrust Act, 15 U.S.C. § 1.

3, The Defendant will plead guilty to the criminal charge described in Paragraph 2
above pursuant to the terms of this Plea Agreement and will make a factual admission of guilt to
the Court in accordance with Fed. R. Crim. P. 11, as set forth in Paragraph 18 below.

DEFENDANT’S AGREEMENT TO WAIVE CERTAIN RIGHTS

4, The Defendant knowingly and voluntarily waives the rights set out in
subparagraphs 1(b)-(f) above. The Defendant also knowingly and voluntarily waives the right to
file any appeal, any collateral attack, or any other writ or motion, including but not limited to any
appeal or collateral attack raising any argument that (1) the statute to which it is pleading guilty
is unconstitutional or (2) the admitted conduct does not fall within the scope of such statute.
Defendant is aware that Title 28, United States Code, Section 1291, and Title 18, United States
Code, Section 3742, afford a Defendant the right to appeal the conviction and sentence imposed.

Defendant is also aware that Title 28, United States Code, Section 2255, affords the right to

 
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contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, Section 2255. In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement
and seek specific performance of these waivers, regardless of how the sentence is determined by
the Court. This agreement does not affect the rights or obligations of the United States as set
forth in 18 U.S.C. § 3742(b). The Defendant agrees that there is currently no known evidence of
ineffective assistance of counsel or prosecutorial misconduct.
ELEMENTS OF THE OFFENSE
5. The elements of the charged offense are that:
(a) the conspiracy described in the Information existed at or about the time
alleged;
(b) the Defendant knowingly became a member of the conspiracy; and
(c) the conspiracy described in the Information either substantially affected
interstate commerce in goods or services or occurred within the flow of interstate
commerce in goods and services.
PUNISHMENT RANGE
6. The Defendant understands that the statutory maximum penalty which may be
imposed against it upon conviction for a violation of Section One of the Sherman Antitrust Act

is:

 
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(a) a fine in an amount equal to the greatest of:
(1) = $100 million (15 U.S.C. § 1);
(2) twice the gross pecuniary gain the conspirators derived from the
crime (18 U.S.C. § 3571 (c) and (d)); or
(3) twice the gross pecuniary loss caused to the victims of the crime by
the conspirators (18 U.S.C. § 3571(c) and (d)); and
(b) a term of probation of at least one year, but not more than five years,
pursuant to §8D1.2(a)(1) of the United States Sentencing Guidelines (“U.S.S.G.,”
“Sentencing Guidelines,” or “Guidelines”) or 18 U.S.C. § 3561(c)(1).
RESTITUTION
7. Defendant understands that pursuant to U.S.S.G. §8B1.1 or 18 U.S.C. §
3563(b)(2) or 3663(a)(3), the Court may order it to pay restitution to the victims of the offense.
MANDATORY SPECIAL ASSESSMENT
8. Defendant understands that pursuant to 18 U.S.C. § 3013(a)(2)(A), the Court is
required to order the Defendant to pay a $400 special assessment upon conviction for the
charged crime.
DEFENDANT’S COOPERATION
9. The Defendant will cooperate fully and truthfully with the United States in the
prosecution of this case, the current federal investigation of violations of federal antitrust and
related criminal laws involving the online sale of customized promotional products in the United
States (collectively “Federal Proceeding”). Federal Proceeding includes, but is not limited to, an
investigation, prosecution, litigation, or other proceeding regarding obstruction of, the making of

a false statement or declaration in, the commission of perjury or subornation of perjury in, the

 
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commission of contempt in, or conspiracy to commit such offenses in, a Federal Proceeding.
The full, truthful, and continuing cooperation of the Defendant will include, but not be limited to:
(a) producing to the United States all documents, information, and other
materials, wherever located, not protected under the attorney-client privilege or the work-
product doctrine, in the possession, custody, or control of the Defendant, that are
requested by the United States in connection with any Federal Proceeding; and
(b) using its best efforts to secure the full, truthful, and continuing cooperation
of the current and former directors, officers, and employees of the Defendant, as may be
requested by the United States, but excluding Mashnoon Ahmed and Mueen Akhter, and
other individuals listed in Attachment A filed under seal. Such efforts will include, but
not be limited to, making these persons available at the Defendant’s expense for
interviews and the provision of testimony in grand jury, trial, and other judicial
proceedings in connection with any Federal Proceeding. Current directors, officers, and
employees are defined for purposes of this Plea Agreement as individuals who are
directors, officers, or employees of the Defendant and its related entities as of the date of
signature of this Plea Agreement.

10. The full, truthful, and continuing cooperation of the current directors, officers,
and employees of the Defendant, will be subject to the procedures and protections of this
paragraph, and will include, but not be limited to:

(a) producing all documents, including claimed personal documents, and
other materials, wherever located, not protected under the attorney-client privilege or the
work-product doctrine, that are requested by attorneys and agents of the United States in

connection with any Federal Proceeding;

 
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(b) making himself or herself available for interviews, not at the expense of
the United States, upon the request of attorneys and agents of the United States in
connection with any Federal Proceeding;

(c) responding fully and truthfully to all inquiries of the United States in
connection with any Federal Proceeding, without falsely implicating any person or
intentionally withholding any information, subject to the penalties of making a false
statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §
1503, et seq.), or conspiracy to commit such offenses;

(d) otherwise voluntarily providing the United States with any material or
information not requested in (a) - (c) of this paragraph and not protected under the
attorney-client privilege or work-product doctrine that he or she may have that is related
to any Federal Proceeding;

(e) when called upon to do so by the United States in connection with any
Federal Proceeding, testifying in grand jury, trial, and other judicial proceedings fully,
truthfully, and under oath, subject to the penalties of perjury (18 U.S.C. § 1621), making
a false statement or declaration in grand jury or court proceedings (18 U.S.C. § 1623),
contempt (18 U.S.C. §§ 401-402), and obstruction of justice (18 U.S.C. § 1503, et seq.);
and

(f) agreeing that, if the agreement not to prosecute him or her in this Plea
Agreement is rendered void under subparagraph 12(c), the statute of limitations period
for any Relevant Offense, as defined in subparagraph 12(a), will be tolled as to him or her

for the period between the date of signature of this Plea Agreement and six (6) months

 
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after the date that the United States gave notice of its intent to void its obligations to that
person under this Plea Agreement.
This Paragraph 10 does not apply to Mashnoon Ahmed, Mueen Akhter, and the individuals listed
in Attachment A filed under seal, regardless of their employment status, or to any former
director, officer, or employee of the Defendant.

GOVERNMENT’S AGREEMENT

 

11. Subject to the full, truthful, and continuing cooperation of the Defendant, as
defined in Paragraph 9 of this Plea Agreement, and upon the Court’s acceptance of the guilty
plea called for by this Plea Agreement and the imposition of the recommended sentence, the
United States agrees that it will not bring further criminal charges against the Defendant for any
act or offense committed before the date of signature of this Plea Agreement that was undertaken
in furtherance of an antitrust conspiracy related to the online sale of customized promotional
products in the United States (“Relevant Offense”). The nonprosecution terms of this paragraph
do not apply to (a) any acts of subornation of perjury (18 U.S.C. §§ 1622), making a false
statement (18 U.S.C. § 1001), obstruction of justice (18 U.S.C. § 1503, ef seq.), contempt (18
U.S.C. §§ 401-402), or conspiracy to commit such offenses; (b) civil matters of any kind; (c) any
violation of the federal tax or securities laws or conspiracy to commit such offenses; or (d) any
crime of violence.

12. The United States agrees to the following:

(a) Upon the Court’s acceptance of the guilty plea called for by this Plea

Agreement and the imposition of the recommended sentence and subject to the

exceptions noted in subparagraph 12(c), the United States agrees that it will not bring

criminal charges against any current director, officer, or employee of the Defendant for

 
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any act or offense committed before the date of signature of this Plea Agreement and
while that person was acting as a director, officer, or employee of the Defendant that was
undertaken in furtherance of an antitrust conspiracy related to the online sale of
customized promotional products in the United States (“Relevant Offense”), except that
the protections granted in this paragraph do not apply to Mashnoon Ahmed, Mueen
Akhter, and the individuals listed in Attachment A filed under seal;

(b) Should the United States determine that any current director, officer, or
employee of the Defendant may have information relevant to any Federal Proceeding, the
United States may request that person’s cooperation under the terms of this Plea
Agreement by written request delivered to counsel for the individual (with a copy to the
undersigned counsel for the Defendant) or, if the individual is not known by the United
States to be represented, to the undersigned counsel for the Defendant;

(c) If any person requested to provide cooperation under subparagraph 12(b)
fails to comply fully with his or her obligations under Paragraph 10, then the terms of this
Plea Agreement as they pertain to that person and the agreement not to prosecute that
person granted in this Plea Agreement will be rendered void, and the United States may
prosecute such person criminally for any federal crime of which the United States has
knowledge, including, but not limited to any Relevant Offense;

(d) Except as provided in subparagraph 12(e), information provided by a
person described in subparagraph 12(b) to the United States under the terms of this Plea
Agreement pertaining to any Relevant Offense, or any information directly or indirectly
derived from that information, may not be used against that person in a criminal case,

except in a prosecution for perjury or subornation of perjury (18 U.S.C. §§ 1621-22),

 
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making a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice
(18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit
such offenses;

(e) If any person who provides information to the United States under this
Plea Agreement fails to comply fully with his or her obligations under Paragraph 10 of
this Plea Agreement, the agreement in subparagraph 12(d) not to use that information or
any information directly or indirectly derived from it against that person in a criminal
case will be rendered void;

(f) The nonprosecution terms of this paragraph do not apply to civil matters
of any kind; any violation of the federal tax or securities laws or conspiracy to commit
such offenses; any crime of violence; or perjury or subornation of perjury (18 U.S.C. §§
1621-22), making a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction
of justice (18 U.S.C. § 1503, et seqg.), contempt (18 U.S.C. §§ 401-402), or conspiracy to
commit such offenses; and

(g) Documents provided under subparagraphs 9(a) and 10(a) will be deemed
responsive to outstanding grand jury subpoenas issued to the Defendant.

SENTENCING GUIDELINES
13. The Defendant understands that the Sentencing Guidelines are advisory, not
mandatory, but that the Court must consider, in determining and imposing sentence, the
Guidelines Manual in effect on the date of sentencing unless that Manual provides for greater
punishment than the Manual in effect on the last date that the offense of conviction was
committed, in which case the Court must consider the Guidelines Manual in effect on the last

date that the offense of conviction was committed. The parties agree there is no ex post facto

 
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issue under the November 1, 2016, Guidelines Manual. The Court must also consider the other
factors set forth in 18 U.S.C. § 3553(a) in determining and imposing sentence. The Defendant
understands that the Court will make Guidelines determinations by applying a standard of
preponderance of the evidence. The Defendant understands that although the Court is not
ultimately bound to impose a sentence within the applicable Guidelines range, its sentence must
be reasonable based upon consideration of all relevant sentencing factors set forth in 18 U.S.C.
§ 3553(a). Pursuant to U.S.S.G. §1B1.8, the United States agrees that self-incriminating
information that the Defendant provides to the United States subsequent to the execution of this
Plea Agreement will not be used to increase the volume of affected commerce attributable to the
Defendant or in determining the Defendant’s applicable Guidelines range, except to the extent
provided in U.S.S.G. §1B1.8(b).
SENTENCING AGREEMENT

14. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), and subject to the full, truthful, and
continuing cooperation of the Defendant, as defined in Paragraph 9 of this Plea Agreement, the
United States and the Defendant agree that the appropriate disposition of this case is, and agree
to recommend jointly, that the Court impose a sentence requiring the Defendant to pay to the
United States a criminal fine of $6,531,687, payable without interest pursuant to 18 U.S.C. §
3612(f) in installments as set forth below, and no order of restitution (“the Recommended
Sentence”). The parties agree that there exists no aggravating or mitigating circumstances of a
kind, or to a degree, not adequately taken into consideration by the U.S. Sentencing Commission
in formulating the Sentencing Guidelines justifying a departure pursuant to U.S.S.G. §5K2.0.
The parties agree not to seek at the sentencing hearing any sentence outside of the Guidelines

range nor any Guidelines adjustment for any reason that is not set forth in this Plea Agreement.

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The parties further agree that the recommended sentence set forth in this Plea Agreement is
reasonable.

(a) The United States and the Defendant agree to recommend, in the interest
of justice pursuant to 18.U.S8.C. § 3572(d)(1) and U.S.S.G. §8C3.2(b), that the fine be
paid in the following installments:

i. within thirty (30) days of judgment — $300,000;
ii. within 6 months of judgment — $200,000;
ili. within one year of judgment -- $250,000;
iv. within two years of judgment — $450,000;
v. within three years of judgment — $450,000;
vi. within four years of judgment — $2,400,500;

vii. within five years of judgment — $2,481,187 (provided, however, that the
Defendant will have the option at any time before full payment is due of
prepaying the remaining balance).

(b) The United States and the Defendant agree to recommend that the Court,
in determining the Guidelines Fine Range for a corporate defendant for a violation of
15 U.S.C. § 1, apply the Chapter 8- Sentencing of Organizations guidelines, and the
applicable offense guideline, §2R1.1- Antitrust Offenses, as follows:

i. Pursuant to U.S.S.G. §8C2.4(b) and §2R1.1(d)(1), the base fine is
$8,373,958, 20% of $41,869,791, the volume of affected commerce;

ii. The Defendant’s Culpability Score is 6 and is determined, pursuant
to U.S.S.G. §8C2.5, as follows:

1. Base Culpability Score, U.S.S.G. §8C2.5 5

1]

 
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2. Involvement in or Tolerance of Criminal
Activity, U.S.S.G. §8C2.5(b)(3)(A) +3
3. Acceptance of Responsibility, U.S.S.G. §8C2.5(g) -2
4, Based on a Culpability Score of 6, the minimum and
maximum multipliers are 1.20 to 2.40 (U.S.S.G. §8C2.6).
lil. The Guidelines Fine Range is $10,048,750 to $20,097,499,

(c) The Defendant understands that the Court will order it to pay a $400
special assessment, pursuant to 18 U.S.C. § 3013(a)(2)(B), in addition to any fine
imposed.

(d) In light of the civil cases which have been filed against the Defendant and
consolidated under Kjessler v. Zaappaaz, Inc. et al., No. 18-cv-00430, in the United
States District Court for the Southern District of Texas, which potentially provide for a
recovery of a multiple of actual damages, the recommended sentence does not include a
restitution order for the offense charged in the Information.

(e) Both parties will recommend that no term of probation be imposed, but the
Defendant understands that the Court’s denial of this request will not void this Plea
Agreement, unless the Court rejects the recommendation for no order of restitution. If
the Court rejects the recommendation for no order of restitution, the United States and the
Defendant agree that this Plea Agreement, except for subparagraph 17(b) below, will be
rendered void and the Defendant will be free to withdraw its guilty plea as provided in
subparagraph 17(b).

15. The United States and the Defendant agree that the applicable Guidelines fine

exceeds the fine contained in the recommended sentence set out in Paragraph 14 above. Subject

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to the full, truthful, and continuing cooperation of the Defendant and its related entities, as
defined in Paragraph 9 of this Plea Agreement, and prior to sentencing in this case, the United
States agrees that it will make a motion, pursuant to U.S.S.G. §8C4.1, for a downward departure
from the Guidelines fine range in this case and will request that the Court impose the fine
contained in the recommended sentence set out in Paragraph 14 of this Plea Agreement because
of the Defendant’s and its related entities’ substantial assistance in the government’s
investigation and prosecutions of violations of federal criminal law in the online sale of
customized promotional products industry.

16. Subject to the full, truthful, and continuing cooperation of the Defendant, as
defined in Paragraph 9 of this Plea Agreement, and prior to sentencing in this case, the United
States will fully advise the Court and the Probation Office of the fact, manner, and extent of the
Defendant’s cooperation and their commitment to prospective cooperation with the United
States’ investigation and prosecutions, all material facts relating to the Defendant’s involvement
in the charged offense, and all other relevant conduct.

17. The United States and the Defendant understand that the Court retains complete
discretion to accept or reject the recommended sentence provided for in Paragraph 14 of this Plea
Agreement.

(a) If the Court does not accept the recommended sentence, the United States
and the Defendant agree that this Plea Agreement, except for subparagraph 17(b) below,
will be rendered void.

(b) If the Court does not accept the recommended sentence, the Defendant
will be free to withdraw its guilty plea (Fed. R. Crim. P. 11(c)(5) and (d)). If the

Defendant withdraws its plea of guilty, this Plea Agreement, the guilty plea, and any

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statement made in the course of any proceedings under Fed. R. Crim. P. 11 regarding the
guilty plea or this Plea Agreement or made in the course of plea discussions with an
attorney for the government will not be admissible against the Defendant in any criminal
or civil proceeding, except as otherwise provided in Fed. R. Evid. 410. In addition, the
Defendant agrees that, if it withdraws its guilty plea pursuant to this subparagraph of this
Plea Agreement, the statute of limitations period for any offense referred to in Paragraph
11 of this Plea Agreement will be tolled for the period between the date of signature of
this Plea Agreement and the date the Defendant withdrew its guilty plea or for a period of
sixty (60) days after the date of signature of this Plea Agreement, whichever period is
greater.

FACTUAL BASIS FOR OFFENSE CHARGED

 

18. Had this case gone to trial, the United States would have presented evidence
sufficient to prove the following facts:

(a) For purposes of this Plea Agreement, the “relevant period” is that period
from at least as early as May 2014 and continuing until to at least June 2016. During the
relevant period, the Defendant was a corporation organized and existing under the laws of
Texas with its principal place of business in Houston, Texas. During the relevant period,
Defendant was engaged in the online sale of customized promotional products to
charities, churches, campaigns, and small businesses, among others, in the United States
and elsewhere. Customized promotional products are assorted products—including
wristbands, lanyards, buttons, and temporary tattoos—that can be customized to customer

specifications. During the relevant period, the Defendant’s online sales of customized

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promotional products to U.S. customers affected by the conspiracy totaled at least
$41,869,791.

(b) During the relevant period, the Defendant, through its officers and
directors, including high-ranking officers of the Defendant, conspired with other persons
and entities engaged in the online sale of customized promotional products, the primary
purpose of which was to fix prices for the online sale of customized promotional products
in the United States and elsewhere. In furtherance of the conspiracy, the Defendant,
through its officers and directors, engaged in discussions, attended in-person meetings
and otherwise communicated via phone, e-mail, text message, and social media platforms
with representatives of other providers of the online sale of customized promotional
products. During these discussions, in-person meetings and communications, the
Defendant and others agreed to fix the prices of online sales of customized promotional
products in the United States and elsewhere.

(c) For example, the Defendant, through its officers and directors, met with
multiple competitors at a restaurant in May 2014 and agreed to fix prices of online sales
of promotional products in the United States and elsewhere. Defendant, through its
officers and directors, also agreed with a competitor in February 2015 to implement
another price increase. Through its officers and directors, Defendant continued to have
collusive communications with its competitors throughout the relevant time period,
discussing further agreements to match or raise prices and eliminate discounts to create
more profitability for itself and its competitors.

(d) During the relevant period, customized promotional products sold by one

or more of the conspirator companies, and the equipment and supplies necessary to the

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production and distribution of online sales of customized promotional products, as well
as payments for online sales of customized promotional products, traveled in interstate
commerce. The business activities of the Defendant and its co-conspirators in connection
with the production and online sale of customized promotional products that were the
subject of this conspiracy were within the flow of, and substantially affected, interstate
trade and commerce.

(e) Defendant and its co-conspirators carried out acts in furtherance of this
conspiracy within the Southern District of Texas. This includes certain conspiratorial in-
person meetings, discussions, and communications described above. Online sales of
customized promotional products at agreed-upon and fixed prices that were the subject of
this conspiracy were also conducted by one or more of the conspirators to customers in
this District.

VIOLATION OF PLEA AGREEMENT

19, The Defendant agrees that, should the United States determine in good faith,
during the period that any Federal Proceeding is pending, that the Defendant has failed to
provide full, truthful, and continuing cooperation, as defined in Paragraph 9 of this Plea
Agreement, or has otherwise violated any provision of this Plea Agreement, the United States
will notify counsel for the Defendant in writing by personal or overnight delivery, email, or
facsimile transmission and may also notify counsel for the Defendant by telephone of its
intention to void any of its obligations under this Plea Agreement (except its obligations under
this paragraph), and the Defendant will be subject to prosecution for any federal crime of which
the United States has knowledge including, but not limited to, the substantive offenses relating to

the investigation resulting in this Plea Agreement. The Defendant agrees that, in the event that

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the United States is released from its obligations under this Plea Agreement, and brings criminal
charges against the Defendant for any offense referred to in Paragraph 11 of this Plea

Agreement, the statute of limitations period for such offense will be tolled for the period between
the date of signature of this Plea Agreement and six (6) months after the date the United States
gave notice of its intent to void its obligations under this Plea Agreement.

20. The Defendant understands and agrees that in any further prosecution of it
resulting from the release of the United States from its obligations under this Plea Agreement
because of the Defendant’s violation of this Plea Agreement, any documents, statements,
information, testimony, or evidence provided by it, or their current or former directors, officers,
or employees to attorneys or agents of the United States, federal grand juries, or courts, and any
leads derived therefrom, may be used against it. In addition, the Defendant unconditionally
waives its right to challenge the use of such evidence in any such further prosecution,
notwithstanding the protections of Fed. R. Evid. 410.

REPRESENTATION BY COUNSEL

21. | The Defendant has reviewed all legal and factual aspects of this case with its
attorney and is fully satisfied with its attorney’s legal representation. The Defendant has
thoroughly reviewed this Plea Agreement with its attorney and has received satisfactory
explanations from its attorney concerning each paragraph of this Plea Agreement and alternatives
available to the Defendant other than entering into this Plea Agreement. After conferring with its
attorney and considering all available alternatives, the Defendant has made a knowing and

voluntary decision to enter into this Plea Agreement.

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VOLUNTARY PLEA

22. The Defendant’s decision to enter into this Plea Agreement, and to tender a plea
of guilty is freely and voluntarily made and is not the result of force, threats, assurances,
promises, or representations other than the representations contained in this Plea Agreement and
Attachments A and B (filed under seal). The United States has made no promises or
representations to the Defendant as to whether the Court will accept or reject the
recommendations contained within this Plea Agreement.

COMPLETE AGREEMENT

23. This Plea Agreement and Attachments A and B (filed under seal) constitute the
entire agreement between the United States and the Defendant concerning the disposition of the
criminal charge in this case. This Plea Agreement cannot be modified except in writing, signed
by the United States and the Defendant.

24. The undersigned is authorized to enter this Plea Agreement on behalf of the
Defendant as evidenced by the Corporate Resolution for the Defendant attached to, and
incorporated by reference in, this Plea Agreement.

25. The undersigned attorneys for the United States have been authorized by the
Attorney General of the United States to enter this Plea Agreement on behalf of the United
States.

26. A facsimile or PDF signature will be deemed an original signature for the purpose
of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

executing this Plea Agreement.

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Filed at Houston, Texas, on May 30, 2019. J
Waa

MaShnoon Ahmed
Chief Executive Officer
Netbrands Media Corp.

Subscribed and sworn to before me on May 30, 2019.

DAVID J. BRADLEY
UNITED STATES DISTRICT CLERK

ale

   
    

By:

 

Unrfited States District Clerk
APPROVED:

RYAN K. PATRICK

UNITED STATES ee

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